         Case 1:17-cv-11011-GAO Document 198 Filed 11/25/19 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                               CIVIL ACTION NO. 17-11011-GAO

                                       ANDREW MOBUS,
                                          Plaintiff,

                                                  v.

                   BARD COLLEGE, PETER LAIPSON, and SUSAN LYON,
                                    Defendants.


                                     PROCEDURAL ORDER
                                       November 25, 2019

O’TOOLE, S.D.J.

       Trial in this case will begin at 9:00 a.m. on January 13, 2020. The parties shall appear

before the Court for a final pretrial conference on December 16, 2019, at 2:00 p.m. Unless excused

by the Court, each party shall be represented at the pretrial conference by counsel who will conduct

the trial. Counsel shall confer with their clients and with each other no later than 14 days before

the pretrial conference to explore the possibilities of settlement and shall be prepared to advise the

Court as to the prospects of settlement.

       At least 7 days before the pretrial conference, counsel shall jointly file the following

documents:

       1. A joint pretrial memorandum, which sets forth the following information:

               a. a concise summary of the evidence that will be offered by the parties with

                   respect to both liability and damages (including special damages, if any);

               b. a joint stipulation of facts agreed to by the parties;

               c. a concise summary of the contested issues of fact;

               d. any jurisdictional questions;
         Case 1:17-cv-11011-GAO Document 198 Filed 11/25/19 Page 2 of 2



                e. any issues raised by pending motions;

                f. any issues of law, including evidentiary questions, together with supporting

                    authority;

                g. the probable length of trial based on a trial schedule of 9:00 AM to 1:00 PM

                    daily and whether jury or nonjury; and

                h. a list of the names and cities of witnesses who will testify at trial and the purpose

                    of the testimony, i.e., whether factual, medical, expert, etc.

        2. A joint list of exhibits to be introduced without objection.

        3. A joint list of proposed exhibits to be offered at trial as to which an opposing party has

            reserved the right to object.

        At least 7 days before the pretrial conference, counsel shall individually file the following

documents:

        1. Trial briefs;

        2. Any motions in limine or other requests regarding foreseeable disputes concerning

            evidentiary issues;

        3. Proposed jury instructions with citation to supporting authority;

        4. Proposed voir dire questions; and

        5. Proposed verdict forms.

        Any oppositions or responses to the pretrial filings, including motions in limine, shall be

filed at least 2 days prior to the pretrial conference.

        It is SO ORDERED.

                                                               /s/ George A. O’Toole, Jr.
                                                               Senior United States District Judge




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